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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

CHARTER COMMUNICATIONS,               )
INC., et al.,                         )
                                      )
  Plaintiffs/Counterclaim Defendants, )
                                      )
    v.                                )              Case No. 4:24 CV 199 CDP
                                      )
UBEE INTERACTIVE, INC.,               )
                                      )
  Defendant/Counterclaim Plaintiff.   )

             CASE MANAGEMENT ORDER - TRACK 2: STANDARD

        Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan

and the Differentiated Case Management Program of the United States District Court

of the Eastern District of Missouri, and the Rule 16 Conference held on June 25,

2024,

        IT IS HEREBY ORDERED that the following schedule shall apply in this

case and will be modified only upon a showing of exceptional circumstances:

        I.     SCHEDULING PLAN

        1.     This case has been assigned to Track 2 (Standard).

       2.     All motions for joinder of additional parties or amendment of pleadings
shall be filed no later than September 12, 2024.

        3.     Discovery shall proceed in the following manner:

             (a) The parties shall make all disclosures required by Rule 26(a)(1),
Fed. R. Civ. P., no later than July 10, 2024.
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             (b) The party with the burden of proof shall disclose all expert
witnesses and shall provide the reports or other information required by Rule
26(a)(2), Fed. R. Civ. P., no later than February 28, 2025, and shall make expert
witnesses available for depositions, and have depositions completed, no later than
April 30, 2025.

             (c) The party rebutting shall disclose all expert witnesses and shall
provide the reports or other information required by Rule 26(a)(2), Fed. R. Civ. P.,
no later than March 28, 2025, and shall make expert witnesses available for
depositions, and have depositions completed, no later than April 30, 2025.

             (d) The parties may take 15 depositions per side, excluding expert
witnesses, and propound 30 interrogatories per side.

             (e) Requests for physical or mental examinations of parties pursuant
to Rule 35, Fed. R. Civ. P., are not anticipated.

            (f)   The parties shall complete all discovery in this case no later than
April 30, 2025. All written discovery shall be served by December 18, 2024.

             (g) Motions to compel shall be pursued in a diligent and timely
manner, but in no event filed more than seven (7) days following the discovery
deadline set out above.

            4.   This case will be referred to alternative dispute resolution
effective November 7, 2024, and that reference shall terminate on January 6, 2025.

              5.     Any motions to dismiss, motions for summary judgment,
motions for judgment on the pleadings, or any motions to limit or exclude expert
testimony must be filed no later than May 28, 2025. Opposition briefs shall be filed
no later than thirty days after the motion or June 27, 2025, whichever is earlier. Any
reply brief may be filed no later than ten days following the response brief or July
7, 2025, whichever is earlier.

      II.    ORDER RELATING TO TRIAL

      This action is set for a JURY trial on October 6, 2025, at 8:30 a.m. This is
a two week docket.

       Pursuant to Local Rule 8.04 the Court may tax against one or all parties the
per diem, mileage, and other expenses of providing a jury for the parties, when the
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case is terminated or settled by the parties at a time too late to cancel the jury
attendance or to use the summoned jurors in another trial, unless good cause for the
delayed termination or settlement is shown.

       In this case, unless otherwise ordered by the Court, the attorneys shall,
not less than twenty (20) days prior to the date set for trial:

      1.     Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
Stipulation of all uncontested facts, which may be read into evidence subject to any
objections of any party set forth in said stipulation (including a brief summary of the
case which may be used on Voir Dire).

      2.     Witnesses:

           (a) Deliver to opposing counsel, and to the Clerk, a list of all
proposed witnesses, identifying those witnesses who will be called to testify and
those who may be called.

            (b) Except for good cause shown, no party will be permitted to call
any witnesses not listed in compliance with this Order.

      3.     Exhibits:

               (a) Mark for identification all exhibits to be offered in evidence at
the trial (Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf.-1,
Deft.-A, or Pltf. Jones-1, Deft. Smith-A, if there is more than one plaintiff or
defendant), and deliver to opposing counsel and to the Clerk a list of such exhibits,
identifying those that will be introduced into evidence and those that may be
introduced. The list shall clearly indicate for each business record whether the
proponent seeks to authenticate the business record by affidavit or declaration
pursuant to Fed. R. Evid. 902(11) or 902(12).

              (b) Submit said exhibits or true copies thereof, and copies of all
affidavits or declarations pursuant to Fed. R. Evid. 902(11) or 902(12), to opposing
counsel for examination. Prior to trial, the parties shall stipulate which exhibits may
be introduced without objection or preliminary identification, and shall file written
objections to all other exhibits.

            (c) Except for good cause shown, no party will be permitted to offer
any exhibits not identified or not submitted by said party for examination by

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opposing counsel in compliance with this Order. Any objections not made in writing
at least ten (10) days prior to trial may be considered waived.

      4.     Depositions, Interrogatory Answers, and Request for Admissions:

             (a) Deliver to opposing counsel and to the Clerk a list of all
interrogatory answers or parts thereof and depositions or parts thereof (identified by
page and line numbers), and answers to requests for admissions proposed to be
offered in evidence. At least ten (10) days before trial, opposing counsel shall state
in writing any objections to such testimony and shall identify any additional portions
of such depositions not listed by the offering party which opposing counsel proposes
to offer.

            (b) Except for good cause shown, no party will be permitted to offer
any interrogatory answer, or deposition or part thereof, or answer to a request for
admissions not listed in compliance with this Order. Any objections not made as
above required may be considered waived.

       5.     Instructions: Submit to the Court and to opposing counsel their
written request for instructions and forms of verdicts reserving the right to submit
requests for additional or modified instructions at least ten (10) days before trial in
light of opposing party’s requests for instructions. (Each request must be supported
by at least one pertinent citation.)

       6.    Trial Brief: Submit to the Court and opposing counsel a trial brief
stating the legal and factual issues and authorities relied on and discussing any
anticipated substantive or procedural problems.

       7.     Motions In Limine: File all motions in limine to exclude evidence at
least ten (10) days before trial.

      Failure to comply with any part of this Order may result in the imposition of

sanctions.



                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 26th day of June, 2024.
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